Case 1:03-md-01570-GBD-SN Document 2101 Filed 07/08/08 Page 1 of 2
Case 1:03-md-01570-GBD-FM Document 2095 Filed 06/17/2008 Page 10 of 1

1

lUSDC SDNY
| DOCUMP YS?
{

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK |

Pear ho

PEL Se eg
Loko re

ALLY FILE

bod
j | AW AL - oe
In Re: TERRORIST ATTACKS OF ) 03 MDL 1570 aedtbate Pinky, JUL OF 2g
SEPTEMBER 11, 2001 ) ECF CASE
}

this document relates to:

Kathleen Ashton, et al. v. Al Qaeda Islamic Army, et al., Case No. 02 CV 6977 (S.DLN.Y.)
Federal Insurance Co, et al. v. Al Qaida, et ul., Case No. 03 CV 6978 (S.D.NLY.)
Thomas E Burnett, Sr, et al. v. Al Baraka Investment & Development Corp., et al,
Case No. 03 CV 9839 (S.D_N.Y.)
Continental Casualty Co., et al. vy. Al Qaeda Islamic Army, et al., Case No. 04 CV 5970
(S.D.N.Y.)
New York Marine and General Insurance Co., et al. y. Al Qaida, et al., Case No. 04 CV
6105 (S.D.N.Y.)
Cantor Fitzgerald Associates, L.P., et ai. v. Akida Investment Co., Ltd, et al., Case No.
04 CV 7065 (S.D.N.Y,)
Euro Brokers, Inc., et al. v. Al Baraka Investment and Development Corp., et al., Case No.
04 CV 7279 (S.D.N.Y,)
World Trade Center Properties, L.L.C., et al. v. Al Baraka Investment and Development
Corp.,
et al, Case No. 04 CV 7280 (S.D.NLY.)
Estate of O'Neill, et al. v. The Republic of frag, et al, Case No. 04 CV 1076 (S.D.N.Y,)
Estate of O'Neill, et al, v. Al Baraka, et al, Case No. 04 CV 1923 (S.D.N.Y.)

ORDER

Lpon consideration of the motion of Trout Cacheris, PLLC and Amy Berman Jackson to
withdraw as counsel for Herr Erwin Wachter, Herr Martin Wachter, Asat Trust Reg, and Sercor

Treuhand Anstalt in these matters, itis hereby ORDERED that the motion is GRANTED, and it

is further

ORDERED that the Clerk shail remove Ms. Jackson from all ECF service lists in this

matter.
>

g }
Entered this © day of Ky? __» 2008.
Case 1:03-md-01570-GBD-SN Document 2101 Filed 07/08/08 Page 2 of 2
Case 1:03-md-01570-GBD-FM Document 2095 Filed 06/17/2008 Page 41 of 11

ae Guy, & Darth

UNIZED ST@CTES DISTRICT COURT JUDGE
HON. GEORGE B. DANIELS

ce: ECF Service List
